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      ORDERED in the Southern District of Florida on April 2, 2019.




                                                   Laurel M. Isicoff
                                                   Chief United States Bankruptcy Judge




_____________________________________________________________________________
                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

      In re:
                                                                 Case No.: 19-11167-LMI
      GLOBAL FISH HANDLERS
      CORPORATION,                                               Chapter 11

            Debtor.
      _______________________________/

                  ORDER DENYING WITHOUT PREJUDICE MOTION BY
              BC FACTORING, LLC TO (1) ENFORCE ORDER GRANTING U.S.
         TRUSTEE’S EMERGENCY MOTION TO CONVERT OR DISMISS CASES AND
         APPROVING SETTLEMENT AND (2) COMPEL TURNOVER OF SETTLEMENT
         FUNDS WRONGFULLY PAID TO ASSOCIATED GROCERS OF FLORIDA, INC.

               This matter came before the Court on March 27, 2019 at 11:30 a.m. (the “Hearing”),

      upon the Motion by BC Factoring, LLC to (1) Enforce Order Granting U.S. Trustee’s

      Emergency Motion to Convert or Dismiss Cases and Approving Settlement and (2) Compel

      Turnover of Settlement Funds Wrongfully Paid to Associated Grocers of Florida, Inc. [ECF 65]

      (the “Motion”). Based upon the sworn testimony given at the Hearing by Carl Cruz (“Cruz”), the

      president of Debtor Global Fish Handlers Corporation, it is ordered and adjudged as follows:
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         1.       The Motion is denied without prejudice.

         2.       The Court’s decision to deny the Motion is based upon the sworn testimony given

by Cruz at the Hearing. Should BC Factoring discover that Cruz’ testimony or a

portion of Cruz’ testimony is incorrect or untruthful, this Order is without prejudice to BC

Factoring pursuing all available remedies in state court.

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Submitted by:
Samuel J. Capuano, Esq.
Florida Bar No. 90946
scapuano@aspalaw.com
Aaronson Schantz Beiley P.A.
One Biscayne Tower
2 S. Biscayne Blvd., 34th Floor
Miami, Florida 33131
Telephone: 786-594-3000
Fax: 305-424-9336
Attorneys for BC Factoring, LLC

Mr. Capuano is directed to serve a copy of this Order upon interested parties and file a certificate of service.




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